                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF TENNESSEE

                               NASHVILLE DIVISION

ST. CLAIR COUNTY EMPLOYEES’               )    Civil Action No. 3:18-cv-00988
RETIREMENT SYSTEM, Individually and on )
Behalf of All Others Similarly Situated,  )    CLASS ACTION
                                          )
                              Plaintiff,  )    District Judge William L. Campbell, Jr.
                                          )    Magistrate Judge Alistair E. Newbern
        vs.                               )
                                          )    MEMORANDUM OF LAW IN SUPPORT
ACADIA HEALTHCARE COMPANY, INC., )             OF LEAD PLAINTIFFS’ UPDATED
et al.,                                   )    MOTION FOR CLASS CERTIFICATION
                                          )
                              Defendants.
                                          )
                                          )




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         Lead Plaintiffs Chicago & Vicinity Laborers’ District Council Pension Fund 1 (“Chicago

Laborers”) and New York Hotel Trades Council & Hotel Association of New York City, Inc.

Pension Fund (“New York Hotels” and, collectively with Chicago Laborers, “Plaintiffs”) submit this

Memorandum of Law in Support of Lead Plaintiffs’ Updated Motion for Class Certification and

respectfully request that the Court: (1) certify this case as a class action; (2) appoint Plaintiffs as

Class Representatives; and (3) appoint Robbins Geller Rudman & Dowd LLP (“Robbins Geller”) as

Class Counsel. 2

I.       INTRODUCTION

         Pursuant to Rule 23(a) and (b)(3) of the Federal Rules of Civil Procedure, Plaintiffs seek

certification of the following Class:

         All persons who purchased or otherwise acquired the common stock of Acadia
         Healthcare Company, Inc. (“Acadia” or the “Company”) between April 30, 2014 and
         November 15, 2018, inclusive (the “Class Period”). Excluded from the Class are
         Acadia, Joey A. Jacobs, Brent Turner, David Duckworth (collectively, “Defendants”)
         and members of their immediate families, any entity of which a Defendant has a
         controlling interest, and the legal representatives, heirs, predecessors, successors or
         assigns of any such excluded party.

         Courts have consistently recognized that “class actions are the most favorable means of

adjudicating federal securities fraud claims.” Castillo v. Envoy Corp., 206 F.R.D. 464, 474 (M.D.

Tenn. 2002). 3 This case is no different, as thousands of Acadia investors (including the proposed




1
       As of March 9, 2020, Chicago Laborers’ Pension Fund is known as Chicago & Vicinity
Laborers’ District Council Pension Fund.
2
       On December 17, 2021, in response to the parties’ Joint Motion to Amend Case Management
Order (ECF No. 97), the Court terminated Plaintiffs’ Motion for Class Certification, (ECF No. 70)
and ordered Plaintiffs to file an updated Motion for Class Certification on or before February 1,
2022. ECF No. 98.
3
         All internal citations are omitted and emphasis added unless otherwise indicated.


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Class Representatives) were damaged by Defendants’ conduct in the same manner and Plaintiffs

satisfy the requirements of Rule 23(a) and (b)(3).

         First, the four requisite elements of Rule 23(a) are readily established here:

         •          (1) Numerosity: Thousands of investors acquired the millions of nationally traded
                    shares of Acadia stock during the Class Period.

         •          (2) Commonality and (3) Typicality: Defendants engaged in the same scheme, issued
                    the same false and misleading statements and omitted the same material facts when
                    communicating to all investors.

         •          (4) Adequacy: The proposed Class Representatives have participated in the litigation
                    and are committed to prosecuting this action on behalf of the Class through
                    experienced and competent counsel.

         Second, this action meets the predominance and superiority requirements of Rule 23(b)(3).

Predominance, as with commonality, is met because the core elements of Plaintiffs’ §§10(b) and

20(a) claims are susceptible to common proof. Similarly, reliance can be presumed on a class-wide

basis under the “fraud-on-the-market” presumption articulated by the Supreme Court in Basic, Inc. v.

Levinson, 485 U.S. 224 (1988), as Acadia’s securities traded in an efficient market throughout the

Class Period. Reliance can also presumed on a class-wide basis under the test set forth in Affiliated

Ute Citizens of Utah v. U.S., 406 U.S. 128 (1972). Lastly, a class action promotes judicial economy

and is undoubtedly the superior method of resolving the claims of the thousands of geographically

dispersed investors that were similarly harmed by Defendants’ fraudulent conduct.

         For these reasons and the reasons further explained below, Lead Plaintiffs’ Motion for Class

Certification should be granted.

II.      STATEMENT OF FACTS

         A.         Summary of the Allegations

         This is a federal securities action alleging that Defendants violated §§10(b) and 20(a) of the

Securities Exchange Act of 1934 (“Exchange Act”), 15 U.S.C. §§78j(b) and 78t(a), and U.S.


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Securities and Exchange Commission (“SEC”) Rule 10b-5, 17 C.F.R. §240.10b-5, by engaging in a

scheme to mislead the public about: (i) the quality of care and the adequacy of staffing at Acadia’s

facilities; (ii) Acadia’s substantial compliance with all applicable laws and regulations; and (iii)

Acadia’s operations, earnings guidance and expected revenue growth in its U.K. facilities. See

generally ECF No. 39 (the “Complaint”); ECF No. 54 (order denying Defendants’ motion to

dismiss).

         Acadia’s business model and ability to generate revenue is heavily dependent on its ability to

fill beds at its inpatient and outpatient residential treatment facilities. ¶41. 4 Accordingly, to

convince the public that its facilities situated across the nation were the preeminent centers to seek

treatment, Acadia consistently and repeatedly represented to the public and investors that it provided

“high-quality patient care.” ¶¶43-45, 111-157. In reality, and in stark contrast to Defendants’ public

statements, Acadia’s tactics of acquiring facilities and then systemically cutting staff was generating

alarming incidents of abuse, neglect and, on several occasions, death. ¶¶47-85. Specifically, staff

cuts left fewer employees available to monitor patients and permitted unsupervised patients to act

out on suicidal tendencies, facilitated patients to elope from Acadia’s facilities and allowed patients

and staff to physically and/or sexually abuse other patients. Id. 5

         Defendants also sought to falsely reassure investors that Acadia was “in substantial

compliance with all applicable laws and regulations and [was] not aware of any material pending or

threatened investigations involving allegations of wrongdoing.” ¶¶46, 149-157. In fact, Acadia


4
        All standalone “¶” or “¶¶” references are to the Complaint. All exhibits referenced herein are
attached to the Declaration of Christopher M. Wood in Support of Lead Plaintiffs’ Motion for Class
Certification, filed concurrently herewith.
5
       Aware of these pervasive issues, Acadia sought to destroy evidence of its misconduct
through draconian document destruction policies, such as an automatic e-mail deletion policy of 30
days. ¶49.


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facilities were staffed below levels necessary to assure proper treatment of patients in a safe and

secure environment or to monitor patients at risk of harming themselves or others. ¶¶50-85. As

revealed by an October 2018 analysis, federal CMS 6 inspection reports from 2013 to 2018 for 31 of

the 40 acute inpatient U.S. hospitals listed on Acadia’s website found staffing deficiencies at 28 of

the 31 hospitals. See ¶¶149-157, 185-186.

         During the Class Period, Defendants also falsely assured investors that the Company’s

acquisition of the U.K.’s largest behavioral health company, the Priory Group (“Priory”), would

drive record profits and earnings in fiscal year 2017. ¶¶6, 91-93, 99. On February 23, 2017, Acadia

issued a press release that included the Company’s financial guidance for 2017 “in a range of $2.85

billion to $2.9 billion.” ¶¶100-101, 159. In reality, however, Acadia was not on track to meet its

U.K. financial targets because of weakened patient admissions and increased labor costs. ¶¶158-

178, 180-183. Indeed, Defendants knew about rising agency staffing costs throughout 2017 and

monitored their patient admission trends on a daily basis. ¶¶86-93. Additionally, Defendants had no

reasonable basis to believe, and did not actually believe, in the census figures underpinning their

projections as Priory was the subject of multiple negative media reports in 2017. ¶¶94-98.

         Defendants’ fraud was revealed through a series of partial disclosures. On October 24, 2017,

Acadia issued a release entitled, “Acadia Healthcare Reports Third Quarter Financial Results”

stating that Acadia badly missed its Q3 2017 revenue and earnings targets and was substantially

reducing its guidance for the remainder of the year. ¶¶8, 180-181. On this news, the price of

Acadia’s securities plummeted from a close of $44.12 per share on October 24, 2017 to an intraday

low of $30.91 per share on October 25, 2017, a decline of 30%. Id. On October 11, 2018, Aurelius

Value published a report and released a video documenting systematic instances of patient abuse and

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      “CMS” refers to the U.S. Department of Health and Human Services’ Centers for Medicare
& Medicaid Services.


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neglect at dozens of Acadia facilities caused primarily by understaffing. ¶¶9, 185-189. On this

news, the price of Acadia securities declined from a close of $36.55 per share on October 10, 2018 to

an intraday low of $32.37 per share on October 12, 2018, a decline of more than 11%. Id. The true

state of Acadia’s business and operations was further disclosed on November 16, 2018, when

Seeking Alpha published an article entitled, “Acadia Healthcare: Very Scary Findings from A 14-

Month Investigation.” ¶¶11, 190-192. The article described Acadia’s rapid growth but attributed

Acadia’s recent revenue and margin increases to cost cutting and “reducing the quality of care.” Id.

On this news, the price of Acadia securities declined from a close of $37.86 per share on November

15, 2018 to an intraday low of $28.02 per share on November 16, 2018, a decline of 26%. Id. As a

result of these partial disclosures, Plaintiffs and other class members who purchased Acadia common

stock at artificially inflated prices suffered significant damages as the truth about, and impact

associated with, Defendants’ misstatements and scheme to defraud was revealed to the market. This

action seeks to recover for these losses.

         B.         The Proposed Class Representatives

         On January 9, 2019, Chicago Laborers and New York Hotels were appointed as Lead

Plaintiffs. ECF No. 35. Both proposed Class Representatives are defined benefit pension plans that

provide retirement income benefits to their participants and collectively purchased or otherwise

acquired more than 50,000 shares of Acadia common stock during the Class Period and suffered

nearly $900,000 in losses. ECF Nos. 26-2, 26-3, 26-4.

         The proposed Class Representatives have expended significant time and effort prosecuting

this action on behalf of the proposed Class – actively participating in discovery and monitoring and

reviewing the work of Lead Counsel Robbins Geller. See Ex. A, Declaration of Catherine Wenskus

in Support of Lead Plaintiffs’ Motion for Class Certification (“Chicago Laborers Decl.”); Ex. B,

Declaration of John Heim in Support of Lead Plaintiffs’ Motion for Class Certification (“New York

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Hotels Decl.”). Court-appointed Lead Counsel Robbins Geller, in turn, has conducted an extensive

investigation into Defendants’ alleged misconduct, drafted a comprehensive consolidated complaint,

successfully opposed Defendants’ motion to dismiss and is diligently pursuing the discovery

necessary to prove the Class’ claims. See, e.g., Complaint; ECF No. 47.

III.     ARGUMENT

         Class actions are widely considered to be the most favorable means of adjudicating federal

securities fraud claims. See Castillo, 206 F.R.D. at 474; Tellabs, Inc. v. Makor Issues & Rts., Ltd.,

551 U.S. 308, 313-14, 320 (2007) (“This Court has long recognized that meritorious private actions

to enforce federal antifraud securities laws are an essential supplement to criminal prosecutions and

civil enforcement actions . . . .”). Indeed, the Supreme Court 7 and courts within the Sixth Circuit8

overwhelmingly find that, in securities fraud actions, class treatment is an appropriate way to

vindicate investors’ rights.

         For the reasons discussed below, the requirements of Rule 23(a) and Rule 23(b) are readily

met in this case; thus, the Court should certify the Class.

         A.         The Proposed Class Satisfies the Requirements of Rule 23(a)

         Rule 23(a) establishes four requisite elements for class certification:

         (1) the class is so numerous that joinder of all members is impracticable; (2) there are
         questions of law or fact common to the class; (3) the claims or defenses of the
         representative parties are typical of those of the class; and (4) the representative
         parties will fairly and adequately protect the interests of the class.

7
        E.g., Basic, 485 U.S. at 229-30, 249-50; Tellabs, 551 U.S. at 313-14, 320; Amchem Prods.,
Inc. v. Windsor, 521 U.S. 591, 625 (1997); Herman & MacLean v. Huddleston, 459 U.S. 375, 380
n.10 (1983); Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 396 (1970).
8
       E.g., Stein v. U.S. Xpress Enters., 2021 WL 1410035 (E.D. Tenn. Feb. 12, 2021); Grae v.
Corr. Corp. of Am., 330 F.R.D. 481 (M.D. Tenn. 2019); Kasper v. AAC Holdings, Inc., 2017 WL
3008510, at *5 (M.D. Tenn. July 14, 2017); Burges v. BancorpSouth, Inc., 2017 WL 2772122, at
*11 (M.D. Tenn. June 26, 2017); Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., 2012 WL
1071281 (M.D. Tenn. Mar. 29, 2012).


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Weiner v. Tivity Health, Inc., 334 F.R.D. 123, 128 (M.D. Tenn. 2020) (citing Fed. R. Civ. P. 23(a)).

Here, the proposed Class meets each of these requirements.

                    1.   The Class Is Sufficiently Numerous

         Rule 23(a)(1) requires that a proposed class be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). Rather than a “strict numerical test, ‘substantial’ numbers

usually satisfy the numerosity requirement.” Burges, Inc., 2017 WL 2772122, at *2; see also Corr.

Corp. of Am., 330 F.R.D. at 501 (“‘[T]he exact number of class members need not be pleaded or

proved’ for a class to be certified, as long as the class representatives can show that joinder would be

impracticable.”). Indeed, “[n]umerosity is generally assumed to have been met in class action suits

involving nationally traded securities.” Burges, 2017 WL 2772122, at *2.

         Throughout the Class Period, Acadia stock traded on the National Association of Securities

Dealers Automated Quotations (“Nasdaq”) – one of the largest stock exchanges in the world. See

Ex. C, Expert Report of W. Scott Dalrymple, CFA (“Dalrymple Rpt.”), ¶¶14, 29. Evidencing

numerosity, the average weekly trading volume of Acadia stock was approximately 4.8 million

shares, or 5.9% of the shares outstanding. Id., ¶35. Similarly, Acadia investors bought tens of

millions of shares of Acadia common stock during the Class Period as part of several public

offerings: (1) 8.8 million shares in a June 17, 2014 secondary offering; (2) 5.1 million shares in a

May 11, 2015 secondary offering; (3) 11.5 million shares in a January 12, 2016 secondary offering;

and (4) 2.8 million shares in an August 16, 2017 secondary offering. Exs. D-E. Lastly, at least 200

major institutions owned Acadia stock during the Class Period, further demonstrating the numerosity

of the proposed Class. Dalrymple Rpt., ¶47 n.58. These institutional investors, such as asset

management and brokerage firms, often hold shares on behalf of numerous undisclosed beneficial

holders (i.e., individual investors).



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         Based on this volume of trading and the number of institutional shareholders, it is reasonable

to conclude that many thousands of individuals owned Acadia stock during the Class Period. In

short, because “[t]his case involves the sale of millions of stock, and Plaintiff estimates that the

number of purchasers is likely to be ‘in the thousands’ and that those purchasers reside in many

states,” numerosity is satisfied. Schuh v. HCA Holdings, Inc., 2014 WL 4716231, at *13 (M.D.

Tenn. Sept. 22, 2014).

                    2.   Questions of Law and Fact Are Common to the Class

         Rule 23(a)(2) requires that there be “questions of law or fact common to the class.” Fed. R.

Civ. P. 23(a)(2). “The claims of the potential class members need not be factually identical,” though

“[t]he mere fact that questions peculiar to individual class members could remain does not

necessarily defeat a finding of commonality.” Ross v. Abercrombie & Fitch Co., 257 F.R.D. 435,

442 (S.D. Ohio 2009). Instead, commonality exists if there is at least “one question common to the

class.” Id.

         Plaintiffs’ claims readily meet this standard as the allegations in the Complaint raise

numerous questions common to the Class. These include, inter alia, including whether: (1)

Defendants were engaged in a scheme to defraud and/or made materially false or misleading

statements or omissions to investors regarding the quality of care, staffing levels and regulatory

compliance of Acadia’s U.S. facilities, ¶¶111-157; (2) Defendants were engaged in a scheme to

defraud and/or made materially false or misleading statements or omissions to investors regarding

the performance of Acadia’s U.K. operations, ¶¶158-178; (3) Defendants acted with scienter, ¶¶194-

229; (4) Defendants’ misrepresentations caused the putative Class to suffer damages, ¶¶179-193; and

(5) Defendants were “control persons” within the meaning of §20(a) of the Exchange Act, ¶¶251-

255. Because all Class members’ claims depend on the answers to these common questions,

commonality is established. See Bovee v. Coopers & Lybrand, 216 F.R.D. 596, 609 (S.D. Ohio

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2003) (explaining that questions bearing upon misrepresentations and materiality are among “‘“the

paradigmatic common question[s] of law in a securities fraud class action”’”).

                    3.   The Proposed Class Representatives’ Claims Are Typical

         “A plaintiff’s claim is typical if it arises from the same event, practice, or course of conduct

that gives rise to the claims of other class members and if its claims are based on the same legal

theory.” Burges, 2017 WL 2772122, at *4. “[A] plaintiff’s burden to establish typicality is not

onerous.” Yost v. First Horizon Nat’l Corp., 2011 WL 2182262, at *8 (W.D. Tenn. June 3, 2011).

         Plaintiffs’ claims are typical of the proposed Class as they arise out of the same course of

conduct – specifically, that Defendants artificially inflated Acadia’s share prices by engaging in a

scheme to defraud and misrepresenting the true state of its U.S. and U.K. facilities. ¶¶3, 12. As

courts consistently recognize, trivial “[f]actual differences involving the date of acquisition, type of

securities purchased and manner by which the investor acquired the securities will not destroy

typicality if each class member was the victim of the same material misstatements and the same

fraudulent course of conduct.” In re Marsh & McLennan Cos., Inc. Sec. Litig., 2009 WL 5178546,

at *10 (S.D.N.Y. Dec. 23, 2009); Ross, 257 F.R.D. at 456 (“‘[i]ndividual differences regarding the

purchasing and selling of stock during the proposed class period [do] not destroy the typicality

requirement’”). All of Plaintiffs’ claims – i.e., the alleged violations of §§10(b) and 20(a) of the

Exchange Act – will be proven by the same evidence on a class-wide basis. See U.S. Xpress, 2021

WL 1410035, at *6 (proposed class representatives’ claims were typical and “driven by the same

factual underpinnings as the Securities Act claims of the proposed class because they derive from the

same alleged misrepresentations and/or omissions”).

         Plaintiffs and the putative Class suffered losses from the same course of conduct and share

identical interests in holding Defendants accountable and maximizing the Class’ recovery. The

claims are therefore typical.

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                    4.   The Proposed Class Representatives Will Adequately and
                         Fairly Protect the Interests of the Class

         The adequacy requirement of Rule 23(a)(4) requires that the “representative parties will

fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). To establish

adequacy: (i) “‘the representative must have common interests with unnamed members of the

class’”; and (ii) “‘it must appear that the representatives will vigorously prosecute the interests of the

class through qualified counsel.’” Young v. Nationwide Mut. Ins. Co., 693 F.3d 532, 543 (6th Cir.

2012) (citing In re Am. Med. Sys., Inc., 75 F.3d 1069, 1083 (6th Cir. 1996)). The first adequacy

factor overlaps with the commonality and typicality elements discussed above and seeks to ensure

that the class representatives have interests aligned with, rather than antagonistic to, the interests of

the unnamed class members. See In re Direct Gen. Corp., 2006 WL 2265472, at *4 (M.D. Tenn.

Aug. 8, 2006). The second adequacy factor requires that the representatives have sufficient financial

and personal involvement to encourage them to prosecute the action vigorously and adequate legal

representation to meet the demands of maintaining the action. Id. Plaintiffs clearly satisfy both

prongs of Rule 23(a)(4)’s adequacy test.

         Plaintiffs’ interests are neither antagonistic to nor in conflict with the interests of the other

Class members. To the contrary, Plaintiffs acquired Acadia common stock during the Class Period

and sustained damages as a result of the same alleged material misrepresentations and omissions as

other class members. See Chicago Laborers Decl., ¶5; New York Hotels Decl., ¶5. Indeed, Chicago

Laborers and New York Hotels purchased or acquired more than 26,000 and 28,000 shares of

Acadia, respectively, collectively suffering more than $800,000 in losses. Id.

         In addition to their financial stakes, Plaintiffs have demonstrated a willingness and ability to

take an active role in the litigation to protect the interests of class members. Chicago Laborers Decl.,

¶¶6-8; New York Hotels Decl., ¶¶6-8. They have, among other things, filed a consolidated


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complaint with a comprehensive set of claims, defended those claims through motion-to-dismiss

briefing and are in the process of proving those claims in discovery. Chicago Laborers Decl., ¶7;

New York Hotels Decl., ¶7. Plaintiffs have also diligently complied with their own discovery

obligations by filing Rule 26 Initial Disclosures and responding to Defendants’ interrogatories and

document requests. Id. Further, as set forth in their respective declarations, Plaintiffs: (i) understand

the requirements and responsibilities of serving as a class representative; (ii) have reviewed key

pleadings in this action; (iii) intend to continue to monitor and review the progress of this litigation;

and (iv) intend to work with counsel to maximize the recovery to the Class. Chicago Laborers Decl.,

¶¶6-8; New York Hotels Decl., ¶¶6-8.

         Plaintiffs have also demonstrated their adequacy by retaining attorneys with considerable

experience in securities class actions. See U.S. Xpress, 2021 WL 1410035, at *8 (“[I]n determining

whether the plaintiffs have established adequate representation, the Court considers whether the

proposed class counsel are ‘qualified, experienced and generally able to conduct the litigation.’”).

Robbins Geller, a 200-attorney firm with an office in this District, regularly represents investors in

nationwide securities litigation, including within the Sixth Circuit and this District. See Ex. F.

District courts throughout the country, including the judges of this Court, have noted Robbins

Geller’s reputation for excellence. See, e.g., ECF No. 35 at 12 (“[T]his Court has previously found

Robbins Geller to be ‘well qualified’ for the task of representing a class in a securities action.”);

Burges, 2017 WL 2772122, at *4; Garden City Emps.’ Ret. Sys. v. Psychiatric Sols., Inc., 2010 WL

1790763, at *4 (M.D. Tenn. Apr. 30, 2010). The Robbins Geller attorneys involved in this case are

responsible for obtaining each of the three largest securities fraud class action recoveries ever

obtained in this District. See, e.g., Transcript of Proceedings (ECF No. 567) at 12-13, Schuh v. HCA

Holdings, Inc., (M.D. Tenn. Apr. 11, 2016) (in granting final approval to a $215 million recovery,



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the largest securities class action recovery ever in Tennessee, recognizing that Robbins Geller and its

local counsel “were gladiators” and expressing the court’s “appreciat[ion for] the work that you all

have done on this”). Additionally, Robbins Geller has obtained the largest securities fraud class

action recovery in this Circuit, as well as in the Fifth, Seventh, Eighth, Tenth and Eleventh Circuits.

In short, Robbins Geller is qualified, experienced and able to prosecute this action.

         B.         The Proposed Class Satisfies the Requirements of Rule 23(b)(3)

         This action also satisfies Rule 23(b)(3)’s requirements that: (1) common questions of law or

fact predominate over individual questions; and (2) a class action is superior to alternative methods

of resolving the dispute. See Amchem, 521 U.S. at 615.

                    1.    Common Factual and Legal Questions Predominate

         “Predominance is a test readily met in certain cases alleging . . . securities” law claims and

exists where the proposed class is “sufficiently cohesive to warrant adjudication by representation.”

Id. at 623, 625. Plaintiffs meet the predominance requirement by establishing that at least one

factual or legal question “is at the heart of the litigation.” Powers v. Hamilton Cnty. Pub. Def.

Comm’n, 501 F.3d 592, 619 (6th Cir. 2007). Importantly, Plaintiffs “‘need not prove that each

element of a claim can be established by class wide proof: “What the rule does require is that

common questions predominate over any questions affecting only individual [class] members.”’”

Bridging Cmtys. Inc. v. Top Flite Fin. Inc., 843 F.3d 1119, 1124 (6th Cir. 2016) (emphasis in

original). Nor does “Rule 23(b)(3) require[] a showing that questions common to the class . . . will

be answered, on the merits, in favor of the class.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568

U.S. 455, 459 (2013) (emphasis in original).

         As discussed above, the Class’ claims are all premised on the same factual circumstances:

Defendants’ course of conduct that concealed from investors the true state of affairs regarding: (1)

the quality of care, staffing levels and regulatory compliance of Acadia’s U.S. facilities; and (2) the

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financial performance of Acadia’s U.K. facilities. Plaintiffs allege this conduct caused Acadia’s

stock price to be artificially inflated during the Class Period, and that Plaintiffs and the Class were

harmed when the price of Acadia’s stock declined, when the true state of affairs was publicly

disclosed.

         Thus, the Class’ claims will be proven through evidence common to the entire Class. With

respect to the Class’ §10(b) and Rule 10b-5 claims, the Supreme Court has held that questions of

whether a defendant knowingly and/or recklessly made public material misstatements and/or

omissions (i.e., the scienter, falsity and materiality elements) and whether the revelation(s) of the

alleged fraud proximately caused that company’s stock price to decline (i.e., loss causation) are all

common questions. Amgen, 568 U.S. at 467-70, 474-76. Moreover, as described in the Dalrymple

Rpt., damages in this case are capable of being measured on a class-wide basis, consistent with

Plaintiffs’ theory of the case. Dalrymple Rpt., ¶¶90-97.

         These questions of Defendants’ class-wide liability predominate over any individualized

issues and are fundamental to all class members’ claims.

                        a.     Plaintiffs Are Entitled to a Presumption of Reliance
                               Pursuant to Basic

         Predominance is established with respect to reliance for the §10(b) claim as Plaintiffs are

entitled to rely on the fraud-on-the-market presumption articulated by the Supreme Court in Basic,

485 U.S. at 241; Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 263-64, 268-69 (2014)

(“Halliburton II”); and Amgen, 568 U.S. at 460-62. The fraud on-the-market theory “holds that ‘the

market price of shares traded on well-developed markets reflects all publicly available information,

and, hence, any material misrepresentations’” and that whenever an “investor buys or sells stock at

the market price, his ‘reliance on any public material misrepresentations . . . may be presumed for




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purposes of a Rule 10b-5 action.’” Halliburton II, 573 U.S. at 268 (quoting Basic, 485 U.S. at 246-

47).

         To invoke the fraud-on-the-market presumption, a plaintiff must demonstrate: “(1) that the

alleged misrepresentations were publicly known, (2) that they were material, (3) that the stock traded

in an efficient market, and (4) that the plaintiff traded the stock between the time the

misrepresentations were made and when the truth was revealed.” Id., 573 U.S. at 268. “[W]ith the

exception of materiality” – which is a question of fact reserved for the jury – the elements of

publicity, market efficiency and market timing “must be satisfied before class certification.” Id. at

276. Here, there is no dispute that the alleged misrepresentations in this case were publicly issued

(see ¶¶112-128, 131-147, 150-156, 159-177) or that Plaintiffs traded in Acadia stock between the

misrepresentations and the ultimate revelation of the truth (see ECF No. 26-2 (New York Hotels’

Certification and Chicago Laborers’ Certification)). As described in the Dalrymple Rpt., Acadia

traded in an efficient market. Dalrymple Rpt., §VI.

         Indeed, the market for Acadia stock was open, active and efficient throughout the Class

Period. Courts in this Circuit and others rely principally on the five Cammer factors, described

below, when assessing market efficiency. See Cammer v. Bloom, 711 F. Supp. 1264, 1286-87

(D.N.J. 1989); Freeman v. Laventhol & Horwath, 915 F.2d 193, 199 (6th Cir. 1990). Courts have

also considered the Krogman factors, which look to: (1) the company’s market capitalization; (2) the

stock’s bid-ask spread; and (3) the stock’s float. Krogman v. Sterritt, 202 F.R.D. 467, 474, 478

(N.D. Tex. 2001); Freeman, 915 F.2d at 199. No single factor is determinative; nor are the factors to

be applied as a “checklist.” Burges, 2017 WL 2772122, at *8 n.10; In re Accredo Health, Inc. Sec.

Litig., 2006 WL 1716910, at *10 (W.D. Tenn. Apr. 19, 2006). As set forth below, these factors




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establish that Acadia traded in an efficient market during the Class Period; thus, Plaintiffs are

entitled to rely on the fraud-on-the-market presumption.

                               (1)     The Cammer Factors

         Acadia Had a High Average Trading Volume. An average weekly trading volume in

excess of 2% is widely recognized as a sign of an efficient market. 9 On average during the Class

Period, approximately 4.8 million Acadia shares changed hands each week. Dalrymple Rpt., ¶35.

This translated to an average weekly trading volume of 5.9% of shares outstanding (id.), supporting

a strong presumption of an efficient market.

         A Substantial Number of Securities Analysts Followed the Company. Analysts facilitate

the flow and digestion of information in the market. Id., ¶36. In this case, at least 13 analyst firms

followed Acadia during each month of the Class Period (with an average of 15.5 analysts per month

during the Class Period), who collectively published more than 600 reports covering Acadia. Id.,

¶¶37-38. This widespread analyst coverage of Acadia supports a finding of efficiency. See, e.g., In

re DVI Inc. Sec. Litig., 249 F.R.D. 196, 209-10 (E.D. Pa. 2008) (three analysts sufficient under this

factor), aff’d, 639 F.3d 623 (3d Cir. 2011); City of Ann Arbor Emps.’ Ret. Sys. v. Sonoco Prods. Co.,

270 F.R.D. 247, 256 (D.S.C. 2010) (six analysts sufficient); Burns, 967 F. Supp. 2d at 1162 (15

analysts sufficient). Moreover, over 200 media articles about Acadia were published during the

Class Period, adding to the rich flow of publicly available information. Dalrymple Rpt., ¶39. This

media coverage of Acadia further supports a finding of market efficiency. See Carpenters Pension

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        See, e.g., Cammer, 711 F. Supp. at 1286 (“Such interest . . . implies . . . investors are
executing trades on the basis of newly available . . . information.”); Accredo, 2006 WL 1716910, at
*7 n.3 (“‘substantial presumption of an efficient market if the securities’ average weekly trading
volume is 1% or more of the total outstanding shares and an even greater presumption of market
efficiency if the percentage is 2%’”); Plumbers & Pipefitters Nat’l Pension Fund v. Burns, 967 F.
Supp. 2d 1143, 1161 (N.D. Ohio 2013) (average weekly trading volume above 2% benchmark
“warrant[s] a ‘strong’ presumption . . . [of] an efficient market”) (citing Cammer, 711 F. Supp. at
1285).


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Tr. Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 92 (S.D.N.Y. 2015) (fact that “information

concerning Barclays was widely disseminated throughout the Class Period through Bloomberg and

other news services” supported a finding of market efficiency). 10

         Acadia Was Listed on the Nasdaq, and There Were Market Makers for Acadia Stock.

Acadia’s listing on the Nasdaq throughout the Class Period provides further evidence that it traded in

an efficient market. Freeman, 915 F.2d at 199 (“[S]ecurities traded in national secondary markets

such as the New York Stock Exchange . . . are well suited for application of the fraud on the market

theory.”). Acadia’s listing on the Nasdaq, which “‘achieves market depth averaging 14 market

makers per stock,’” demonstrates that the Company had access to a highly developed network of

brokers and market makers. Dalrymple Rpt., ¶43; Willis v. Big Lots, Inc., 242 F. Supp. 3d 634, 654

(S.D. Ohio 2017) (“Transactions on the NYSE . . . go through a designated market maker . . . which

has been found to satisfy this factor.”).      Moreover, at least 15 market makers – financial

intermediaries who trade in a company’s stock, allowing investors to trade in a timely fashion and

with reasonable transaction costs – made a market for Acadia stock over the course of the Class

Period. Dalrymple Rpt., ¶44. Acadia’s listing on the Nasdaq and the broad array of market makers

further supports a finding that the market for Acadia was efficient.

         Acadia Was Eligible to File, and Did File, Form S-3 Registration Statements. Courts

also consider eligibility to file a Form S-3 registration statement in assessing market efficiency.

Cammer, 771 F. Supp. at 1284 (Form S-3 registration is “‘predicated on the Commission’s belief

that the market operates efficiently for these companies’”). A company must meet certain float and

other requirements to be eligible for S-3 registration. Dalrymple Rpt., ¶¶48-49. Here, Acadia was


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        Moreover, at least 200 major institutions owned Acadia stock during the Class Period.
Dalrymple Rpt., ¶47 n.58. Acadia’s considerable ownership by large institutions further supports a
finding of market efficiency. See In re Alstom SA Sec. Litig., 253 F.R.D. 266, 280 (S.D.N.Y. 2008).


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eligible for S-3 registration and, in fact, filed three Form S-3 registration statements during the Class

Period (id., ¶51), supporting a finding that Acadia stock traded in an efficient market.

         Acadia’s Stock Price Reacted to New, Company-Specific Information. The fifth

Cammer factor focuses on whether Acadia stock responded to new, Company-specific information.

Cammer, 711 F. Supp. at 1287. To test the responsiveness of Acadia’s stock price to new

information, Plaintiffs’ expert performed an event study – analyzing Acadia stock price movements

on days that the Company announced financial results or guidance and comparing those events to all

other days in the Class Period. Dalrymple Rpt., ¶¶55-71. An event study is “‘a generally accepted

technique for measuring how a security’s price reacts to new, unexpected information about the

issuing company.’” Willis v. Big Lots, Inc., 2017 WL 1074048, at *4 n.4 (S.D. Ohio Mar. 17, 2017)

(quoting Burns, 967 F. Supp. 2d at 1151); see also Halliburton II, 573 U.S. at 280 (event studies are

“regression analyses that seek to show that the market price of the defendant’s stock tends to respond

to pertinent publicly reported events”). As explained in the Dalrymple Rpt., the event study

identified a cause-and-effect relationship between the release of new, Acadia-specific information

and the movement in Acadia’s stock price. Dalrymple Rpt., ¶¶55-71.

                                (2)     The Krogman Factors

         Acadia Had an Extremely Large Market Capitalization. Courts have considered a large

market capitalization to be indicative of market efficiency on the premise that investors have a

greater incentive to invest in more highly capitalized corporations. Krogman, 202 F.R.D. at 478;

Psychiatric Sols., 2012 WL 1071281, at *32 (capitalization between $600 million and $1.2 billion

favored a determination of market efficiency). Here, Acadia’s market capitalization exceeded $2.1

billion on every trading day of the Class Period – further indicating that it traded in an efficient

market. Dalrymple Rpt., ¶74.



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         Acadia Stock Had a Narrow Bid-Ask Spread. A narrow bid-ask spread – i.e., a small

difference between the prices at which investors are willing to buy and current stockholders are

willing to sell shares – indicates a more efficient market. See Krogman, 202 F.R.D. at 478.

Acadia’s common stock had a very narrow bid-ask spread, averaging 0.04% during the Class Period.

Dalrymple Rpt., ¶79. This supports the finding that Acadia traded in an efficient market.

Psychiatric Sols., 2012 WL 1071281, at *32 (average bid-ask spread of $0.04 indicated an efficient

market).

         Acadia Had a Large Public Float. Courts also consider public float – i.e., the percentage of

shares held by the public, rather than insiders and affiliated entities – in assessing market efficiency.

Krogman, 202 F.R.D. at 478. Acadia’s public float was considerable, ranging between 61.2% and

97.8% of all shares outstanding throughout the Class Period. Dalrymple Rpt., ¶75. This large public

float provides further evidence that Acadia traded in an efficient market.

                        b.      Plaintiffs Are Entitled to a Presumption of Reliance
                                Pursuant to Affiliated Ute

         With respect to reliance, predominance is also met because Plaintiffs are also entitled to a

presumption of reliance under Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972).

Plaintiffs’ claims are based, in part, on Defendants’ scheme to artificially inflate the value of Acadia

securities and material omissions; Affiliated Ute applies to such scheme claims, as well as claims

“involving primarily a failure to disclose.” Id. at 153; see, e.g., Stoneridge Inv. Partners, LLC v.

Scientific-Atlanta, Inc., 552 U.S. 148, 159 (2008); W. Va. Pipe Trades Health & Welfare Fund v.

Medtronic, Inc., 325 F.R.D. 280, 288-90 (D. Minn. 2018) (certifying class and holding that plaintiffs

could invoke the Affiliated Ute presumption for their scheme liability claims). In such cases,

“positive proof of reliance is not a prerequisite to recovery.” Affiliated Ute, 406 U.S. at 153-54.

Instead, “[a]ll that is necessary is that the facts withheld be material in the sense that a reasonable


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investor might have considered them important in the making of [their] decision.” Id. Moreover,

because materiality itself is a common question, Plaintiffs need not prove materiality at the class

certification stage. Amgen, 568 U.S. at 467 (“[B]ecause ‘[t]he question of materiality . . . is an

objective one, involving the significance of an omitted or misrepresented fact to a reasonable

investor,’ materiality can be proved through evidence common to the class.”); Halliburton II, 573

U.S. at 281-83 (same).

         Here, Plaintiffs alleged that Defendants engaged in a scheme to defraud investors by, inter

alia, the understaffing and widespread adverse patient issues at Acadia facilities. Accordingly,

Affiliated Ute’s presumption of reliance also applies. Burges, 2017 WL 2772122, at *10.

                    2.    A Class Action Is Superior to Other Available Methods for the
                          Fair and Efficient Adjudication of This Action

         Courts have uniformly recognized that a class action is superior to other available methods

for the fair and efficient resolution of securities class actions. Under Rule 23(b)(3), consideration of

the following factors determines whether the “superiority” requirement is met: (1) the class

members’ interests in individually controlling the prosecution of separate actions; (2) the extent and

nature of any litigation concerning the controversy already begun by or against class members; (3)

the desirability or undesirability of concentrating the litigation of the claims in the particular forum;

and (4) the likely difficulties in managing a class action. Here, each factor weighs strongly in favor

of class certification.

         Most class members’ interests in individually prosecuting separate actions is minimal as the

trouble and expense of doing so would be prohibitive when weighed against the potential recoveries.

Additionally, the maintenance of a class action in this District ensures an efficient expenditure of

resources and consistent rulings on the Class’ claims. See Psychiatric Sols., 2012 WL 1071281, at

*39 (“[C]ertification of this action as a class action is a vastly superior method of adjudication


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because the common issues will only have to be heard and decided once, thereby promoting judicial

efficiency.”). This District is a desirable forum for this class action: individual class members are

most likely located in geographically dispersed areas, Acadia is headquartered in this District and

many of the acts and practices complained of occurred in substantial part in this District. Plaintiffs

do not foresee any management difficulties that preclude this action from proceeding as a class

action. Consistent with the requirements of Rule 23(b)(3), certification of this action as a class

action would not only be superior to other available methods, but appears to be the sole method for

fairly and efficiently litigating the class members’ claims.

IV.      CONCLUSION

         For the foregoing reasons, Lead Plaintiffs’ Motion for Class Certification should be granted.

DATED: February 1, 2022                          ROBBINS GELLER RUDMAN
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                                   CERTIFICATE OF SERVICE

         I hereby certify under penalty of perjury that on February 1, 2022, I authorized the electronic

filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

non-CM/ECF participants indicated on the attached Manual Notice List.

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Mailing Information for a Case 3:18-cv-00988 St. Clair County Employees' Retirement System v. Acadia
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